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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-831V
                                    Filed: February 7, 2017
                                        UNPUBLISHED

****************************
SUSAN J. SWANSON,                       *
                                        *
                    Petitioner,         *      Damages Decision Based on Proffer;
v.                                      *      Influenza;
                                        *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Douglas Lee Burdette, Burkett & Burdette, Seattle, WA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On July 13, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following receipt of her October 23, 2014 influenza vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On November 10, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On February 7, 2017, respondent filed a proffer on
award of compensation (“Proffer”) indicating petitioner should be awarded $55,620.00.
Proffer at 1. In the Proffer, respondent represented that petitioner agrees with the


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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proffered award. Based on the record as a whole, the undersigned finds that petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $55,620.00 in the form of a check payable to
petitioner, Susan J. Swanson. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                OFFICE OF SPECIAL MASTERS


    SUSAN J. SWANSON,             )
                                  )
              Petitioner,         )
    v.                            )                    No. 16-831V
                                  )                    Chief Special Master Dorsey
    SECRETARY OF HEALTH AND HUMAN )                    ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On November 10, 2016, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation for her Shoulder Injury Related to

Vaccine Administration (“SIRVA”). Based on the evidence of record, respondent proffers that

petitioner should be awarded $55,620.00. This amount represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $55,620.00, in the form of a check payable to petitioner. 1 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                         Respectfully submitted,

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                                         s/ Traci R. Patton
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Dated: February 7, 2017
